               Case 1:15-cv-01692-CL       Document 1      Filed 09/08/15       Page 1 of 4




 1   Matthew R. Cleverley, OSB #93235
     Fidelity National Law Group
 2   1200 – 6th Avenue, Suite 620
     Seattle, WA 98101
 3   (206) 223-4525, ext. 103
     Matthew.Cleverley@fnf.com
 4   Attorney for Defendant

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 7
                           IN THE UNITED STATES DISTRICT COURT
 8                                 DISTRICT OF OREGON
                                    MEDFORD DIVISION
 9

10   DONALD L. OLSON, as TRUSTEE OF THE                Case No. 1:15-cv-1692
     OLSON LIVING TRUST,
11
                                  Plaintiff,           NOTICE OF REMOVAL
12   v.
                                                       (Josephine County Case #15-CV-20794)
13   CHICAGO TITLE INSURANCE COMPANY,
     successor to TICOR TITLE INSURANCE
14   COMPANY,

15                                Defendant.

16   TO:           Clerk, United States District Court for the District of Oregon

17   And to:       Plaintiff, DONALD L. OLSON, as TRUSTEE OF THE OLSON LIVING
                   TRUST
18
     And to:       Carl A. Clyde, Esq., Attorney for Plaintiff
19
            Defendant, Chicago Title Insurance Company (“CTIC”) hereby Removes the
20
     captioned cause, originally filed in Josephine County, Oregon Circuit Court, Case number 15-
21
     CV-20794, to the United States District Court for the District of Oregon. CTIC Removes the
22
     case pursuant to 28 U.S.C. §1332 and 28 U.S.C. §1441(b), on the following grounds:
23

     NOTICE OF REMOVAL – 1                                          FIDELITY NATIONAL LAW GROUP
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 1     1.    On or about August 6, 2015, Plaintiff filed a Complaint in Josephine County,

 2           Oregon Circuit Court, Case number 15-CV-207944.

 3     2.    CTIC received a copy of the Summons and Complaint on August 13, 2015. This

 4           Notice of Removal is timely under 28 U.S.C. §1446(b) because it is within 30 days

 5           after CTIC received notice of the Summons and Complaint.

 6     3.    Copies of all additional records and proceedings in the State Court will be filed

 7           together with the Verification of State Court Records as required by 28 U.S.C.

 8           §1446(a).

 9     4.    Plaintiff is a citizen of the State of Oregon.

10     5.    Defendant CTIC is a Nebraska corporation.

11     6.    CTIC is the only Defendant having been served with a summons and complaint in

12           this action.

13     7.    This action is a civil action of which this Court has original jurisdiction under 28

14           U.S.C. §1332, and which may be removed to this court by Defendant CTIC
15           pursuant to 28 U.S.C. §1441(b) as a civil action between citizens of different states
16           and the matter in controversy exceeds the sum of $75,000 exclusive of interest and
17           costs.
18     8.    The original case was filed in Josephine County, Oregon Circuit Court.
19           Accordingly, this case should be assigned to the United States District Court for
20           the District of Oregon, at Medford, pursuant to 12 U.S.C. §632 and Local Rule 3-
21           2(a).
22

23

     NOTICE OF REMOVAL – 2                                           FIDELITY NATIONAL LAW GROUP
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 1      9.     CTIC will promptly file a copy of this Notice with Deschutes County Circuit

 2             Court and all parties.

 3      10.    Pursuant to 28 U.S.C. §1332 and 28 U.S.C. 1441(b), no further action may occur

 4             in the state court unless and until the action is remanded.

 5      Wherefore, Defendant CTIC respectfully gives notice that the above-entitled action is

 6   removed from the Deschutes County, Oregon Circuit Court to the U.S. District Court for the

 7   District of Oregon, Medford Division.

 8

 9   Dated: September 8, 2015                       /s/ Matthew Cleverley
                                                    Matthew R. Cleverley, WSBA #32055
10                                                  Fidelity National Law Group
                                                    1200 – 6th Avenue, Suite 620
11                                                  Seattle, WA 98101
                                                    (206) 223-4525, ext. 103
12                                                  Matthew.Cleverley@fnf.com
                                                    Attorney for CTIC
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 1                                  CERTIFICATE OF SERVICE

 2           The undersigned certifies under the penalty of perjury under the laws of the State of
     Washington that I am now and at all times herein mentioned, a citizen of the United States, a
 3   resident of the State of Washington, over the age of eighteen years, not a party to or interested
     in the above-entitled action, and competent to be a witness herein.
 4
             On the date given below I caused to be served the foregoing NOTICE OF REMOVAL
 5   on the following individuals in the manner indicated:

 6   Carl A. Clyde OSB #095782                         X U.S. Mail, proper postage affixed
     Sorenson, Ransom & Ferguson, LLP                 ___ Legal Messenger
 7   133 NW D Street                                  ___ Facsimile
     Grants Pass OR 97526                             ___ Hand Delivery
 8   541-476-3883 – Phone                             __X_ ECF/email
     541-474-4495 – Fax
 9   cclyde@roguevalleylaw.com
     Attorney for Plaintiff
10

11   Dated: September 8, 2015                        /s/ Matthew Cleverley
                                                     Matthew R. Cleverley, WSBA #32055
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     NOTICE OF REMOVAL – 4                                           FIDELITY NATIONAL LAW GROUP
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